Case 4:19-cv-03345 Document 1-3 Filed on 09/05/19 in TXSD Page 1 of 30




     EXHIBIT C




                                                                  Exhibit C
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                 2019-51824 / Court: 080




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Case 4:19-cv-03345 Document 1-3 Filed on 09/05/19 in TXSD Page 26 of 30            8/13/2019 10:05 AM
                                                         Marilyn Burgess - District Clerk Harris County
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                                                                                  By: Brenda Espinoza
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                                                                                                                  By: Lisa Thomas
                                                                                                      Filed: 8/27/2019 10:23 AM

                                                    CAUSE NO. 2019-51824

   HAYDEE GUZMAN,                                                    IN THE DISTRICT COURT
     Plaintiff

   VS.
                                                                     80TH JUDICIAL DISTRICT




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   ALLSTATE VEHICLE AND




                                                                                       ler
   PROPERTY INSURANCE COMPANY,
     Defendant




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                                                                     HARRIS COUNTY, TEXAS




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        DEFENDANT’S ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE




                                                                             ist
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TO THE HONORABLE JUDGE OF SAID COURT:




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          COMES NOW ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY,



                                                                     rg
Defendant in the above styled and numbered cause of action, and in response to the complaints
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filed against it, would respectfully show unto this Honorable Court and Jury as follows:
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                                                    GENERAL DENIAL
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          At this time, Defendant asserts a general denial to Plaintiff’s Original Petition and all
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amended and/or supplemental petitions, as authorized by Rule 92, Texas Rules of Civil Procedure,
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and respectfully requests the Court and jury to require Plaintiff to prove the claims, charges and
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allegations, by a preponderance of the evidence, as required by the Constitution and the laws of
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the State of Texas.
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                                                    SPECIFIC DENIALS
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          Plaintiff’s claims are barred or limited, in whole or in part, by policy exclusions and/or

limitations which are listed in the policy made the basis of this suit.

          Plaintiff failed to comply with certain conditions precedent to the policy prior to filing this



 Guzman vs. Allstate                                                                                 Page 1 of 4
 Defendant’s Original Answer and Request for Disclosure
 0515904522.1
     Case 4:19-cv-03345 Document 1-3 Filed on 09/05/19 in TXSD Page 28 of 30



lawsuit.

          Plaintiff provided late notice of the claim.

          Plaintiff failed to allege conduct warranting imposition of exemplary or punitive damages under

applicable state law.




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          Defendant hereby gives notice that it intends to rely upon such other defenses as may become




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available or apparent during the course of discovery and thus reserve the right to amend this answer.




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          Pursuant to Texas Rules of Civil Procedure, Defendant requests that Plaintiff disclose




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within thirty days of service of this request, the information and material described in Rule 194.2(a)



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through (l).
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          If this case was filed as an Expedited Action under TRCP 47(c)(1) and/or TRCP 190.2,
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Defendant further requests disclosure of any and all documents, electronic information, and
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tangible items that you have in your possession, custody or control and which may be used to
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support your claims or defenses.
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                                                           IV.
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          Defendant, formally requests a jury trial pursuant to Rule 216 of the Texas Rules of Civil
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Procedure and tenders the jury fee.
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                               DESIGNATED E-SERVICE EMAIL ADDRESS
            of




          The following is the undersigned attorney’s designation of electronic service email address
          Un




for all electronically served documents and notices, filed and unfiled, pursuant to Tex. R. Civ. P.

21(f)(2) & 21(a). (HoustonLegal@allstate.com). This is the undersigned’s ONLY electronic

service email address, and service through any other email address will be considered invalid.



 Guzman vs. Allstate                                                                            Page 2 of 4
 Defendant’s Original Answer and Request for Disclosure
 0515904522.1
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          WHEREFORE, PREMISES CONSIDERED, Defendant prays that the Plaintiff recover nothing

of and from the Defendant by reason of this suit, that Defendant be discharged without delay, with costs of

court, and for such other and further relief, both general and special, at law and in equity, to which

Defendant may be justly entitled, and for which Defendant will in duty bound, forever pray.




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                                                                Respectfully submitted,




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                                                                SUSAN L. FLORENCE & ASSOCIATES




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                                                                KIMBERLY BLUM



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                                                                TBN: 24092148
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                                                                Houston, TX 77002-1401
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                                                                HoustonLegal@allstate.com
                                                                (713) 336-2812
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                                                                (877) 684-4165 (fax)
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                                                                ATTORNEY FOR DEFENDANT
                                                                ALLSTATE VEHICLE AND PROPERTY
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 Guzman vs. Allstate                                                                             Page 3 of 4
 Defendant’s Original Answer and Request for Disclosure
 0515904522.1
     Case 4:19-cv-03345 Document 1-3 Filed on 09/05/19 in TXSD Page 30 of 30



                                            CERTIFICATE OF SERVICE

          Pursuant to Rules 21. and 21a. of the Texas Rules of Civil Procedure, I hereby certify that

Defendant’s Original Answer has been filed with the clerk of the court in writing, and a true and correct

copy of Defendant’s Original Answer has been delivered to all interested parties on the 27th day of




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August, 2019, to:




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Eddie Lane




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Perry & Shields LLP
2900 North Loop W., Suite 850




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Houston, TX 77092




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Attorneys for Plaintiff                                         VIA E-SERVE




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 Guzman vs. Allstate                                                                           Page 4 of 4
 Defendant’s Original Answer and Request for Disclosure
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